                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LUXOTTICA GROUP S.p.A. and OAKLEY,                )
INC.,                                             )
                                                  )    Case No. 18-cv-02188
                        Plaintiffs,               )
                                                  )
       v.                                         )
                                                  )
THE PARTNERSHIPS and                              )
UNINCORPORATED ASSOCIATIONS                       )
IDENTIFIED ON SCHEDULE “A,”                       )
                                                  )
                        Defendants.               )
                                                  )

                                         COMPLAINT

       Plaintiffs Luxottica Group S.p.A. and Oakley, Inc. (collectively, “Plaintiffs”) hereby

bring the present action against the Partnerships and Unincorporated Associations identified on

Schedule A attached hereto (collectively, “Defendants”) and allege as follows:

                               I. JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b)

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are

so related to the federal claims that they form part of the same case or controversy and derive

from a common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at
least the fully interactive, commercial Internet stores operating under at least the Defendant

Domain Names and/or the Online Marketplace Accounts identified in Schedule A attached

hereto (collectively, the “Defendant Internet Stores”). Specifically, Defendants are reaching out

to do business with Illinois residents by operating one or more commercial, interactive

Defendant Internet Stores through which Illinois residents can purchase products using

counterfeit versions of Plaintiffs’ trademarks. Each of the Defendants has targeted sales from

Illinois residents by operating online stores that offer shipping to the United States, including

Illinois, accept payment in U.S. dollars and, on information and belief, has sold products using

counterfeit versions of Plaintiffs’ trademarks to residents of Illinois. Each of the Defendants is

committing tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully

caused Plaintiffs substantial injury in the State of Illinois.

                                        II. INTRODUCTION

        3.      This action has been filed by Plaintiffs to combat online counterfeiters who trade

upon Plaintiffs’ reputations and goodwill by offering for sale and/or selling unauthorized and

unlicensed counterfeit products, including eyewear, using counterfeits of Plaintiffs’ federally

registered trademarks (the “Counterfeit Products”).          The Defendants create the Defendant

Internet Stores in large numbers and design them to appear to be selling genuine products, while

actually selling Counterfeit Products to unknowing consumers. The Defendant Internet Stores

share unique identifiers, such as design elements and similarities of the Counterfeit Products

offered for sale, establishing a logical relationship between them and suggesting that Defendants’

counterfeiting operation arises out of the same transaction, occurrence, or series of transactions

or occurrences. Defendants attempt to avoid liability by going to great lengths to conceal both

their identities and the full scope and interworking of their counterfeiting operation. Plaintiffs



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are forced to file these actions to combat Defendants’ counterfeiting of their registered

trademarks, as well as to protect unknowing consumers from purchasing Counterfeit Products

over the Internet. Plaintiffs have been and continue to be irreparably damaged through consumer

confusion, dilution, and tarnishment of their valuable trademarks as a result of Defendants’

actions and seek injunctive and monetary relief.

                                       III. THE PARTIES

Plaintiffs

Plaintiff Luxottica Group S.p.A.

       4.      Plaintiff Luxottica Group S.p.A. (“Luxottica”) is a corporation duly organized

under the laws of Italy with its principal place of business in Milan, Italy and an office located at

4000 Luxottica Place, Mason, Ohio 45040-8114. Luxottica is, in part, engaged in the business of

producing, manufacturing and distributing throughout the world, including within this judicial

district, premium, luxury and sports eyewear products under federally registered trademarks,

including, but not limited to, the RAY-BAN® family of marks.

       5.      For generations, the Ray-Ban brand has been the undisputed world leader in the

field of sun and prescription eyewear products, including those which prominently display the

famous, internationally recognized, and federally registered RAY-BAN trademarks (collectively,

the “Ray-Ban Products”).

       6.      Ray-Ban Products have become enormously popular and even iconic, driven by

the brand’s arduous quality standards and innovative design. Among the purchasing public,

genuine Ray-Ban Products are instantly recognizable as such. In the United States and around

the world, the Ray-Ban brand has come to symbolize high quality, and Ray-Ban Products are

among the most recognizable eyewear in the world. Ray-Ban Products are distributed and sold



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to consumers through retailers throughout the United States, including through authorized

retailers in Illinois such as Sunglass Hut and high-end department stores, and through the official

Ray-Ban.com website, which was launched in 1995 and began e-commerce sales in 2009.

       7.      Luxottica and its predecessors began using the RAY-BAN trademarks in 1937

and have continuously sold eyewear under the RAY-BAN and other trademarks (collectively, the

“RAY-BAN Trademarks”). As a result of this long-standing use, strong common law trademark

rights have amassed in the RAY-BAN Trademarks. Luxottica’s use of the marks has also built

substantial goodwill in and to the RAY-BAN Trademarks. The RAY-BAN Trademarks are

famous marks and valuable assets of Luxottica. Ray-Ban Products typically include at least one

of the registered RAY-BAN Trademarks.

       8.      Several of the RAY-BAN Trademarks are registered with the United States Patent

and Trademark Office, a non-exclusive list of which is included below.

Registration Number                 Trademark                        Goods and Services
        595,513                    WAYFARER                 For: Sun glasses in class 9.



                                                            For: Sun glasses, shooting glasses,
        650,499
                                                            and ophthalmic lenses in class 9.



                                                            For: Ophthalmic products and
                                                            accessories-namely, sunglasses;
       1,080,886                    RAY-BAN                 eyeglasses; spectacles; lenses and
                                                            frames for sunglasses, eyeglasses,
                                                            and spectacles in class 9.




                                                4
                           For: Ophthalmic products and
                           accessories-namely, sunglasses;
                           eyeglasses; spectacles; lenses and
1,093,658                  frames for sunglasses, eyeglasses,
                           spectacles; and cases and other
                           protective covers for sunglasses,
                           eyeglasses, and spectacles in class 9.



                           For: Sunglasses and carrying cases
1,320,460
                           therefor in class 9.


1,537,974   CLUBMASTER     For: Sunglasses in class 9.
                           For: Bags; namely, tote, duffle and
                           all purpose sports bags in class 18.

                           For: Cloths for cleaning opthalmic
1,726,955
                           products in class 21.

                           For: Clothing and headgear; namely,
                           hats in class 25.
                           For: Goods made of leather and
                           imitation leather, namely, wallets,
                           card cases for business cards, calling
                           cards, name cards and credit cards in
2,718,485    RAY-BAN       class 18.

                           For: Clothing for men and women,
                           namely, polo shirts; headgear,
                           namely, berets and caps in class 25.


                           For: Sunglasses, eyeglasses, lenses
3,522,603                  for eyeglasses, eyeglasses frames,
                           and cases for eyeglasses in class 9.




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       9.     The above U.S. registrations for the RAY-BAN Trademarks are valid, subsisting,

in full force and effect, and many are incontestable pursuant to 15 U.S.C. § 1065.          The

registrations for the RAY-BAN Trademarks constitute prima facie evidence of their validity and

of Luxottica’s exclusive right to use the RAY-BAN Trademarks pursuant to 15 U.S.C. § 1057

(b). True and correct copies of the United States Registration Certificates for the above-listed

RAY-BAN Trademarks are attached hereto as Exhibit 1.

       10.    The RAY-BAN Trademarks are distinctive when applied to the Ray-Ban

Products, signifying to the purchaser that the products come from Luxottica and are

manufactured to Luxottica’s quality standards. Whether Luxottica manufactures the products

itself or contracts with others to do so, Luxottica has ensured that products bearing the RAY-

BAN Trademarks are manufactured to the highest quality standards.

       11.    The RAY-BAN Trademarks are famous marks, as that term is used in 15 U.S.C. §

1125(c)(1), and have been continuously used and never abandoned. The innovative marketing

and product designs of the Ray-Ban Products have enabled the Ray-Ban brand to achieve

widespread recognition and fame and have made the RAY-BAN Trademarks some of the most

well-known marks in the sun and prescription eyewear industry.          The widespread fame,

outstanding reputation, and significant goodwill associated with the Ray-Ban brand have made

the RAY-BAN Trademarks valuable assets of Luxottica.

       12.    Luxottica has expended substantial time, money, and other resources in

advertising and promoting the RAY-BAN Trademarks. In fact, Luxottica has expended millions

of dollars annually in advertising, promoting and marketing featuring the RAY-BAN

Trademarks. Ray-Ban Products have also been the subject of extensive unsolicited publicity

resulting from their high-quality, innovative designs. As a result, products bearing the RAY-



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BAN Trademarks are widely recognized and exclusively associated by consumers, the public,

and the trade as being high-quality products sourced from Luxottica. Ray-Ban Products have

become among the most popular of their kind in the U.S. and the world. The RAY-BAN

Trademarks have achieved tremendous fame and recognition which has only added to the

inherent distinctiveness of the marks. Id. As such, the goodwill associated with the RAY-BAN

Trademarks is of incalculable and inestimable value to Luxottica.

       13.    Genuine Ray-Ban Products are sold only through authorized retail channels and

are recognized by the public as being exclusively associated with the Ray-Ban brand.

       14.    Since at least as early as 2009, genuine Ray-Ban Products have been promoted

and sold at the official Ray-Ban.com website. Sales of Ray-Ban Products via the Ray-Ban.com

website are significant. The Ray-Ban.com website features proprietary content, images and

designs exclusive to the Ray-Ban brand.

Plaintiff Oakley, Inc.

       15.    Plaintiff Oakley, Inc. (“Oakley”) is a corporation organized and existing under the

laws of the State of Washington, having its principal place of business at One Icon, Foothill

Ranch, California 92610.

       16.    Plaintiff Oakley is an indirect, wholly-owned subsidiary of Luxottica.

       17.    Oakley is an internationally recognized manufacturer, distributor and retailer of

sports eyewear, apparel, footwear, outerwear, jackets, accessories and other merchandise, all of

which prominently display its famous, internationally-recognized and federally-registered

trademarks, including OAKLEY and various Icon logos (collectively, the “Oakley Products”).

Oakley Products have become enormously popular and even iconic, driven by Oakley’s arduous

quality standards and innovative design. Among the purchasing public, genuine Oakley Products



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are instantly recognizable as such. In the United States and around the world, the Oakley brand

has come to symbolize high quality, and Oakley Products are among the most recognizable

eyewear, headwear, footwear, outerwear, jackets and apparel in the world.

       18.    Oakley Products are distributed and sold to consumers through retailers

throughout the United States, including through authorized retailers in Illinois, the official

oakley.com website which was launched in 1995, and Oakley O Stores, including one located at

835 N. Michigan Avenue in Chicago, Illinois.

       19.    Oakley incorporates a variety of distinctive marks in the design of its various

Oakley Products. As a result of its long-standing use, Oakley owns common law trademark

rights in its OAKLEY Trademarks. Oakley has also registered its trademarks with the United

States Patent and Trademark Office. Oakley Products typically include at least one of Oakley’s

registered trademarks. Often several Oakley marks are displayed on a single Oakley Product.

Oakley has registered its trademarks with the United States Patent and Trademark Office.

Oakley uses its trademarks in connection with the marketing of its Oakley Products, including

the following marks which are collectively referred to as the “OAKLEY Trademarks.”

Registration Number             Trademark                        Good and Services
                                                     For: Sunglasses and accessories for
      1,521,599                  OAKLEY              sunglasses, namely, replacement lenses,
                                                     ear stems and nose pieces in class 9.
                                                     For: Clothing, namely, shirts and hats in
      1,522,692                  OAKLEY
                                                     class 25.
      1,552,583                  OAKLEY              For: Goggles in class 9.
                                                     For: Clothing, headwear and footwear and
                                                     footwear, namely, sport shirts, jerseys,
                                                     shirts, jackets, vests, sweatshirts,
      2,293,046                  OAKLEY
                                                     pullovers, coats, ski pants, headwear, caps,
                                                     shoes, athletic footwear, all purpose sports
                                                     footwear and socks in class 25.
      3,153,943                  OAKLEY              For: Prescription eyewear, namely,
                                                     sunglasses and spectacles; eyewear

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                         containing electronics devices, namely,
                         protective eyewear, eyeglasses, sunglasses
                         and spectacles; electronics, namely
                         portable digital electronic devices for
                         recording, organizing, and reviewing text,
                         data and audio files; computer software for
                         use in recording, organizing, and
                         reviewing text, data and audio files on
                         portable digital electronic devices;
                         transmitters, receivers, speakers and parts
                         thereof for use with cellular, wireless
                         computer and telephone communication
                         systems; communication devices for use
                         on eyewear, namely earpieces,
                         transmitters, receivers, speakers and parts
                         thereof for use with cellular, wireless
                         computer and telephone communication
                         systems; wearable audio visual display,
                         namely, protective eyewear, eyeglasses,
                         sunglasses and spectacles containing an
                         audio visual display; wireless
                         telecommunications modules in class 9.
                         For: Retail store services and on-line retail
                         store services featuring eyewear,
                         replacement lenses, eyewear nosepiece
3,771,517   OAKLEY       kits, clothing, headwear, footwear,
                         watches, decals, electronics devices,
                         posters, athletic bags, handbags,
                         backpacks and luggage in class 35.
                         For: Protective and/or anti-glare eyewear,
                         namely sunglasses, goggles, spectacles
                         and their parts and accessories, namely
1,980,039                replacement lenses, earstems, frames, nose
                         pieces and foam strips; cases specially
                         adapted for protective and/or anti-glare
                         eyewear and their parts and accessories in
                         class 9.
                         For: Goggles, sunglasses, and protective
                         pads for elbows, feet and knees in class 9.
1,356,297                For: Clothing - namely t-shirts; gloves;
                         racing pants; hats; sweatshirts; sport shirts,
                         jackets, jeans, jerseys and ski pants,
                         jackets, hats, gloves and socks in class 25.
1,519,596                For: Sunglasses and accessories for
                         sunglasses, namely, replacement lenses,

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                 ear stems and nose pieces in class 9.

                 For: Printed material, namely decals and
1,902,660
                 stickers in class 16.

                 For: Protective and/or anti-glare eyewear,
                 namely sunglasses, goggles, spectacles
                 and their parts and accessories, namely
1,990,262        replacement lenses, earstems, frames, nose
                 pieces and foam strips; cases specially
                 adapted for protective and/or anti-glare
                 eyewear and their parts and accessories in
                 class 9.
                 For: clothing, namely, t-shirts, beach-
                 wear, blouses, sports shirts, jerseys,
                 swimwear, swimtrunks, shorts, underwear,
                 shirts, pants, racing pants, ski and
                 snowboard pants and jackets, jeans, vests,
3,496,633        jackets, wetsuits, sweaters, pullovers,
                 coats, sweatpants, headwear, namely, hats,
                 caps, visors and footwear, namely, wetsuit
                 booties, shoes, sandals, athletic footwear,
                 all purpose sports footwear, thongs and
                 boots in class 25.
                 For: Protective eyewear, namely
                 spectacles, prescription eyewear, anti glare
                 glasses and sunglasses and their parts and
                 accessories, namely replacement lenses,
                 frames, earstems, and nose pieces; cases
                 specially adapted for spectacles and
                 sunglasses and their parts and accessories;
                 and protective clothing, namely, racing
                 pants in class 9.

3,331,124        For: Clothing, namely, t-shirts, beach-
                 wear, blouses, sports shirts, jerseys,
                 swimwear, swimtrunks, shorts, underwear,
                 shirts, pants, ski and snowboard pants and
                 jackets, jeans, vests, jackets, wetsuits,
                 sweaters, pullovers, coats, sweatpants,
                 headwear, namely, hats, caps, visors and
                 footwear, namely wetsuit booties, shoes,
                 sandals, athletic footwear, all purpose
                 sports footwear, thongs and boots in class
                 25.


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                             For: Protective eyewear, namely
                             spectacles, prescription eyewear, anti glare
                             glasses and sunglasses and their parts and
                             accessories, namely replacement lenses,
3,151,994
                             frames, earstems, and nose pieces; cases
                             specially adapted for spectacles and
                             sunglasses and their parts and accessories
                             in class 9.
                             For: Retail store services and on-line retail
                             store services featuring eyewear,
                             replacement lenses, eyewear nosepiece
3,771,516                    kits, clothing, headwear, footwear,
                             watches, decals, electronics devices,
                             posters, athletic bags, handbags,
                             backpacks and luggage in class 35.
                             For: Clothing, namely, T-shirts,
                             beachwear, blouses, sports shirts, jerseys,
                             shorts, shirts, pants, racing pants, ski
                             pants, vests, jackets, sweaters, pullovers,
2,300,245
                             coats, sweatpants, sweatshirts, headwear,
                             namely, hats, caps, and footwear, namely,
                             shoes, athletic footwear, all purpose sports
                             footwear in class 25.
                             For: printed material, namely decals and
1,927,106                    stickers in class 16.

                             For: protective and/or anti-glare eyewear,
                             namely sunglasses, goggles, spectacles
                             and their parts and accessories, namely
                             replacement lenses, earstems, frames, nose
                             pieces and foam strips; cases specially
                             adapted for protective and/or anti-glare
1,984,501                    eyewear and their parts and accessories in
                             class 9.

                             For: Clothing and headwear, namely T-
                             shirts, sweatshirts, jackets, hats, and caps
                             in class 25.

5,109,790                    For: Gloves in class 25.

                             For: Eyewear, namely, sunglasses, sports
                             goggles, spectacles and their parts and
4,407,750   CROSSLINK
                             accessories, namely, replacement lenses,
                             ear stems, frames, nose pieces and foam

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                              strips; cases specially adapted for eyewear
                              and their parts and accessories in class 9.
                              For: Protective eyewear, namely,
                              spectacles, prescription eyewear, anti glare
                              glasses and sunglasses and their parts and
                              accessories, namely, replacement lenses,
3,733,882     IRIDIUM
                              frames, earstems, and nose pieces; cases
                              specially adapted for spectacles and
                              sunglasses and their parts and accessories
                              in class 9.
                              For: Eyewear, namely, sunglasses,
                              goggles, spectacles and their parts and
                              accessories, namely, replacement lenses,
4,827,569   JAWBREAKER        ear stems, frames, nose pieces and foam
                              strips; cases specifically adapted for
                              eyewear and their parts and accessories in
                              class 9.
                              For: Eyewear, namely, sunglasses, sports
                              goggles, spectacles and their parts and
                              accessories, namely, replacement lenses,
4,407,749   RADARLOCK
                              ear stems, frames, nose pieces and foam
                              strips; cases specially adapted for eyewear
                              and their parts and accessories in class 9.
                              For: Protective eyewear, namely,
                              spectacles, prescription eyewear, anti glare
                              glasses and sunglasses and their parts and
                              accessories, namely, replacement lenses,
3,489,952     OIL RIG
                              frames, earstems, and nose pieces; cases
                              specially adapted for spectacles and
                              sunglasses and their parts and accessories
                              in class 9.
                              For: Eyewear, namely sunglasses and
                              accessories for sunglasses, namely,
4,194,197   FROGSKINS
                              replacement lenses, ear stems and nose
                              pieces in class 9.
                              For: Eyewear, namely, sunglasses,
                              goggles, spectacles and their parts and
                              accessories, namely, replacement lenses,
4,847,461      FLAK           ear stems, frames, nose pieces and foam
                              strips; cases specifically adapted for
                              eyewear and their parts and accessories in
                              class 9.
                              For: Protective eyewear, namely,
                              spectacles, prescription eyewear, anti glare
3,379,110     RADAR
                              glasses and sunglasses and their parts and
                              accessories, namely, replacement lenses,

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                              frames, earstems, and nose pieces; cases
                              specially adapted for spectacles and
                              sunglasses and their parts and accessories
                              in class 9.
                              For: Eyewear, namely, sunglasses,
                              goggles, spectacles and their parts and
                              accessories, namely, replacement lenses,
5,026,399      LATCH          ear stems, frames, nose pieces and foam
                              strips; cases specifically adapted for
                              eyewear and their parts and accessories in
                              class 9.
                              For: Protective and anti-glare eyewear,
                              namely, sunglasses, goggles, spectacles
                              and their parts and accessories, namely,
4,822,664   SI TOMBSTONE      replacement lenses, ear stems, frames,
                              nose pieces and foam strips; cases
                              specifically adapted for protective and
                              anti-glare eyewear in class 9.
                              For: Protective eyewear, namely
                              spectacles, prescription eyewear, anti glare
                              glasses and sunglasses and their parts and
                              accessories, namely replacement lenses,
3,245,494      GASCAN
                              frames, earstems, and nose pieces; cases
                              specially adapted for spectacles and
                              sunglasses and their parts and accessories
                              in class 9.
                              For: Eyewear, namely, sunglasses in class
4,956,691   TRIGGERMAN
                              9.
                              For: Protective eyewear, namely,
                              spectacles, prescription eyewear, anti glare
                              glasses and sunglasses and their parts and
                              accessories, namely, replacement lenses,
3,680,975   FIVES SQUARED
                              frames, earstems, and nose pieces; cases
                              specially adapted for spectacles and
                              sunglasses and their parts and accessories
                              in class 9.
                              For: Protective eyewear, namely
                              spectacles, prescription eyewear, namely,
                              spectacles and sunglasses, anti-glare
                              glasses and sunglasses and parts thereof,
2,900,432      VALVE
                              namely replacement lenses, frames,
                              earstems, and nose pieces; cases specially
                              adapted for spectacles and sunglasses in
                              class 9.
                              For: Protective eyewear, namely,
3,941,018       PATH
                              spectacles, prescription eyewear, anti glare

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                                glasses and sunglasses and their parts and
                                accessories, namely, replacement lenses,
                                frames, earstems, and nose pieces; cases
                                specially adapted for spectacles and
                                sunglasses and their parts and accessories
                                in class 9.
                                For: Protective eyewear, namely,
                                spectacles, prescription eyewear, anti glare
                                glasses and sunglasses and their parts and
                                accessories, namely, replacement lenses,
5,026,407   JUPITER SQUARED
                                frames, earstems, and nose pieces; cases
                                specially adapted for spectacles and
                                sunglasses and their parts and accessories
                                in class 9.
                                For: Protective eyewear, namely,
                                spectacles, prescription eyewear, anti glare
                                glasses and sunglasses and their parts and
                                accessories, namely, replacement lenses,
4,136,113      BATWOLF
                                frames, ear stems, and nose pieces; cases
                                specially adapted for spectacles and
                                sunglasses and their parts and accessories
                                in class 9.
                                For: Protective eyewear; namely, goggles,
                                anti-glare glasses; sunglasses and their
                                parts; namely, lenses, replacement lenses,
1,701,476      M FRAME
                                frames, earstems and nose pieces; cases
                                specially adapted for sunglasses and their
                                parts in class 9.
                                For: Protective and/or anti-glare eyewear,
                                namely, sunglasses, goggles, spectacles
                                and their parts and accessories including
                                replacement lenses, earstems, frames, nose
2,054,810   STRAIGHT JACKET
                                pieces and foam strips; cases specially
                                adapted for protective and/or anti-glare
                                eyewear and their parts and accessories in
                                class 9.
                                For: Protective eyewear, namely,
                                spectacles, prescription eyewear, anti glare
                                glasses and sunglasses and their parts and
             FLAK JACKET        accessories, namely, replacement lenses,
3,379,109
                                frames, earstems, and nose pieces; cases
                                specially adapted for spectacles and
                                sunglasses and their parts and accessories
                                in class 9.
                                For: Eyewear, namely, sunglasses,
4,756,605      BADMAN
                                goggles, spectacles and their parts and

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                               accessories, namely, replacement lenses,
                               ear stems, frames, nose pieces and foam
                               strips; cases specifically adapted for
                               eyewear and their parts and accessories in
                               class 9.
                               For: Eyewear, namely, sunglasses,
                               goggles, spectacles and their parts and
                               accessories, namely, replacement lenses,
4,618,566     TINCAN           ear stems, frames, nose pieces and foam
                               strips; cases specifically adapted for
                               eyewear and their parts and accessories in
                               class 9.
                               For: Protective and/or antiglare eyewear,
                               namely, sunglasses, goggles, spectacles
                               and their parts and accessories, namely,
                               replacement lenses, earstems, frames, nose
2,106,614   SQUARE WIRE
                               pieces, and foam strips; cases specially
                               adapted for protective and/or antiglare
                               eyewear and their parts and accessories in
                               class 9.
                               For: Protective and/or anti-glare eyewear,
                               namely sunglasses, goggles, spectacles
                               and their parts and accessories, namely
1,952,697     JACKET           replacement lenses, earstems, frames, nose
                               pieces and foam strips; cases specially
                               adapted for protective and/or anti-glare
                               eyewear in class 9.
                               For: Protective eyewear, namely,
                               spectacles, prescription eyewear, anti glare
                               glasses and sunglasses and their parts and
                               accessories, namely, replacement lenses,
3,468,824     HIJINX
                               frames, earstems, and nose pieces; cases
                               specially adapted for spectacles and
                               sunglasses and their parts and accessories
                               in class 9.
                               For: Protective eyewear, namely,
                               spectacles, prescription eyewear, anti glare
                               glasses and sunglasses and their parts and
                               accessories, namely, replacement lenses,
3,732,382    RESTLESS
                               frames, earstems, and nose pieces; cases
                               specially adapted for spectacles and
                               sunglasses and their parts and accessories
                               in class 9.
                               For: Protective eyewear, namely, goggles
2,087,464    O FRAME           and replacement parts for goggles in class
                               9.

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                                                     For: Protective eyewear, namely, goggles
      2,087,466                 E FRAME              and replacement parts for goggles in class
                                                     9.
                                                     For: Sporting goods, namely goggles and
      3,126,622                CROWBAR               replacement parts for goggles for skiing,
                                                     snowboarding and motocross in class 9.


       20.    The above registrations for the OAKLEY Trademarks are valid, subsisting, in full

force and effect, and many are incontestable pursuant to 15 U.S.C. § 1065. The OAKLEY

Trademarks have been used exclusively and continuously by Oakley, some since at least as early

as 1975, and have never been abandoned. Attached hereto as Exhibit 2 are true and correct

copies of the United States Registration Certificates for the OAKLEY Trademarks included in

the above table. The registrations for the OAKLEY Trademarks constitute prima facie evidence

of their validity and of Oakley’s exclusive right to use the OAKLEY Trademarks pursuant to 15

U.S.C. § 1057(b).

       21.    The OAKLEY Trademarks are exclusive to Oakley, and are displayed extensively

on Oakley Products and in Oakley’s marketing and promotional materials. Typically, at least one

of the OAKLEY Trademarks are included on Oakley Products. Oakley Products have long been

among the most popular eyewear in the world and have been extensively promoted and

advertised at great expense.   In fact, Oakley has expended millions of dollars annually in

advertising, promoting and marketing featuring the OAKLEY Trademarks. Oakley Products

have also been the subject of extensive unsolicited publicity resulting from their high-quality,

innovative designs and renown as desired luxury items. Because of these and other factors, the

Oakley name and the OAKLEY Trademarks have become famous throughout the United States.

       22.    The OAKLEY Trademarks are distinctive when applied to the Oakley Products,

signifying to the purchaser that the products come from Oakley and are manufactured to


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Oakley’s quality standards. Whether Oakley manufactures the products itself or licenses others

to do so, Oakley has ensured that products bearing its trademarks are manufactured to the highest

quality standards. The OAKLEY Trademarks have achieved tremendous fame and recognition,

which has only added to the inherent distinctiveness of the marks. As such, the goodwill

associated with the OAKLEY Trademarks is of incalculable and inestimable value to Oakley.

       23.      Since at least as early as 1995, Oakley has operated a website where it promotes

and sells genuine Oakley Products at oakley.com. Sales of Oakley Products via the oakley.com

website represent a significant portion of Oakley’s business. The oakley.com website features

proprietary content, images and designs exclusive to Oakley.

       24.      Oakley’s innovative marketing and product designs have enabled Oakley to

achieve widespread recognition and fame and have made the OAKLEY Trademarks some of the

most well-known marks in the eyewear and apparel industry. The widespread fame, outstanding

reputation, and significant goodwill associated with the Oakley brand have made the OAKLEY

Trademarks valuable assets of Oakley.

       25.      Oakley has expended substantial time, money, and other resources in developing,

advertising and otherwise promoting the OAKLEY Trademarks. As a result, products bearing

the OAKLEY Trademarks are widely recognized and exclusively associated by consumers, the

public, and the trade as being high-quality products sourced from Oakley. Oakley is a multi-

million dollar operation, and Oakley Products have become among the most popular of their kind

in the world.

       26.      The RAY-BAN Trademarks and the OAKLEY Trademarks are collectively

referred to herein as “Plaintiffs’ Trademarks.”




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        27.    The Ray-Ban Products and the Oakley Products are collectively referred to herein

as “Plaintiffs’ Products.”

The Defendants

        28.    Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within the State of Illinois and this

Judicial District, through the operation of the fully interactive, commercial websites and online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell, and, on information and belief, has sold and

continues to sell Counterfeit Products to consumers within the United States, including the State

of Illinois.

        29.    On information and belief, Defendants are an interrelated group of counterfeiters

working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell products using counterfeit versions of Plaintiffs’ Trademarks in the same

transaction, occurrence, or series of transactions or occurrences. Tactics used by Defendants to

conceal their identities and the full scope of their counterfeiting operation make it virtually

impossible for Plaintiffs to learn Defendants’ true identities and the exact interworking of their

counterfeit network.    In the event that Defendants provide additional credible information

regarding their identities, Plaintiffs will take appropriate steps to amend the Complaint.

                        IV. DEFENDANTS’ UNLAWFUL CONDUCT

        30.    The success of Plaintiffs’ respective brands has resulted in their significant

 counterfeiting. Consequently, Plaintiffs have a worldwide anti-counterfeiting program and

 regularly investigate suspicious websites and online marketplace listings identified in proactive



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Internet sweeps and reported by consumers. In recent years, Plaintiffs have identified thousands

of domain names linked to fully interactive websites and marketplace listings on platforms such

as iOffer, eBay, AliExpress, and Alibaba, including the Defendant Internet Stores, which were

offering for sale and selling Counterfeit Products to consumers in this Judicial District and

throughout the United States. Despite Plaintiffs’ enforcement efforts online and on the ground,

Defendants have persisted in creating the Defendant Internet Stores. Internet websites like the

Defendant Internet Stores are estimated to receive tens of millions of visits per year and to

generate over $135 billion in annual online sales. According to an intellectual property rights

seizures statistics report issued by Homeland Security, the manufacturer’s suggested retail price

(MSRP) of goods seized by the U.S. government in fiscal year 2014 was over $1.23 billion.

Internet websites like the Defendant Internet Stores are also estimated to contribute to tens of

thousands of lost jobs for legitimate businesses and broader economic damages such as lost tax

revenue every year.

       31.    Defendants facilitate sales by designing the Defendant Internet Stores so that they

appear to unknowing consumers to be authorized online retailers, outlet stores, or wholesalers.

Many of the Defendant Internet Stores look sophisticated and accept payment in U.S. dollars via

credit cards, Alipay, Western Union, and PayPal. The Defendant Internet Stores often include

content and design elements that make it very difficult for consumers to distinguish such

counterfeit sites from an authorized website. Many Defendants further perpetuate the illusion of

legitimacy by offering customer service and using indicia of authenticity and security that

consumers have come to associate with authorized retailers, including the Visa®, MasterCard®,

and/or PayPal® logos. Plaintiffs have not licensed or authorized Defendants to use any of the




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Plaintiffs’ Trademarks, and none of the Defendants are authorized retailers of genuine Plaintiffs’

Products.

       32.     Many Defendants also deceive unknowing consumers by using Plaintiffs’

Trademarks without authorization within the content, text, and/or meta tags of their websites in

order to attract various search engines crawling the Internet looking for websites relevant to

consumer searches for Plaintiffs’ Products. Additionally, upon information and belief,

Defendants use other unauthorized search engine optimization (SEO) tactics and social media

spamming so that the Defendant Internet Stores listings show up at or near the top of relevant

search results and misdirect consumers searching for genuine Plaintiffs’ Products.          Other

Defendants only show Plaintiffs’ Trademarks in product images while using strategic item titles

and descriptions that will trigger their listings when consumers are searching for Plaintiffs’

Products.

       33.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their network of Defendant Internet Stores.

For example, many of Defendants’ names and physical addresses used to register the Defendant

Domain Names are incomplete, contain randomly typed letters, or fail to include cities or states.

Other Defendant Domain Names use privacy services that conceal the owners’ identity and

contact information. On information and belief, Defendants regularly create new websites and

online marketplace accounts on various platforms using the identities listed in Schedule A to the

Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by the Defendants to conceal

their identities, the full scope and interworking of their counterfeiting operation, and to avoid

being shut down.



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       34.     Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores.          For example, many of the

Defendant websites have virtually identical layouts, even though different aliases were used to

register the respective domain names. In addition, Counterfeit Products for sale in the Defendant

Internet Stores bear similar irregularities and indicia of being counterfeit to one another,

suggesting that the Counterfeit Products were manufactured by and come from a common source

and that Defendants are interrelated. The Defendant Internet Stores also include other notable

common features, including use of the same domain name registration patterns, shopping cart

platforms, accepted payment methods, check-out methods, meta data, illegitimate SEO tactics,

HTML user-defined variables, domain redirection, lack of contact information, identically or

similarly priced items and volume sales discounts, the same incorrect grammar and misspellings,

similar hosting services, similar name servers, and the use of the same text and images, including

content copied from Plaintiffs’ official ray-ban.com, oakley.com, and esseyepro.com websites.

       35.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often

register new domain names or online marketplace accounts under new aliases once they receive

notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers located

outside the United States once notice of a lawsuit is received. Rogue servers are notorious for

ignoring take down demands sent by brand owners. Counterfeiters also typically ship products

in small quantities via international mail to minimize detection by U.S. Customs and Border

Protection.




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        36.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of Plaintiffs’ enforcement efforts.        On information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal

accounts to off-shore bank accounts outside the jurisdiction of this Court. Indeed, analysis of

PayPal transaction logs from previous similar cases indicates that off-shore counterfeiters

regularly move funds from U.S.-based PayPal accounts to China-based bank accounts outside the

jurisdiction of this Court.

        37.     Defendants, without any authorization or license from Plaintiffs, have knowingly

and willfully used and continue to use Plaintiffs’ Trademarks in connection with the

advertisement, distribution, offering for sale, and sale of Counterfeit Products into the United

States and Illinois over the Internet. Each Defendant Internet Store offers shipping to the United

States, including Illinois, and, on information and belief, each Defendant has sold Counterfeit

Products into the United States, including Illinois.

        38.     Defendants’ use of Plaintiffs’ Trademarks in connection with the advertising,

distribution, offering for sale, and sale of Counterfeit Products, including the sale of Counterfeit

Products into the United States, including Illinois, is likely to cause and has caused confusion,

mistake, and deception by and among consumers and is irreparably harming Plaintiffs.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

        39.     Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 38.

        40.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered Plaintiffs’

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Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. Plaintiffs’ Trademarks are highly distinctive marks. Consumers have come to

expect the highest quality from Plaintiffs’ Products offered, sold or marketed under Plaintiffs’

Trademarks.

       41.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products using

counterfeit reproductions of Plaintiffs’ Trademarks without Plaintiffs’ permission.

       42.     Plaintiffs are the exclusive owners of their respective Plaintiffs’ Trademarks.

Plaintiffs’ United States Registrations for their respective Plaintiffs’ Trademarks (Exhibits 1-2)

are in full force and effect. Upon information and belief, Defendants have knowledge of

Plaintiffs’ rights in Plaintiffs’ Trademarks, and are willfully infringing and intentionally using

counterfeits of Plaintiffs’ Trademarks. Defendants’ willful, intentional and unauthorized use of

Plaintiffs’ Trademarks is likely to cause and is causing confusion, mistake, and deception as to

the origin and quality of the Counterfeit Products among the general public.

       43.     Defendants’     activities   constitute   willful   trademark   infringement    and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       44.     Plaintiffs have no adequate remedy at law, and if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputations and the goodwill

of Plaintiffs’ Trademarks.

       45.     The injuries and damages sustained by Plaintiffs have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of Counterfeit Products.




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                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       46.     Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 45.

       47.     Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit

Products has created and is creating a likelihood of confusion, mistake, and deception among the

general public as to the affiliation, connection, or association with Plaintiffs or the origin,

sponsorship, or approval of Defendants’ Counterfeit Products by Plaintiffs.

       48.     By using Plaintiffs’ Trademarks on the Counterfeit Products, Defendants create a

false designation of origin and a misleading representation of fact as to the origin and

sponsorship of the Counterfeit Products.

       49.     Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the Counterfeit Products to the general public involves the use of

counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       50.     Plaintiffs have no adequate remedy at law and, if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputations and the associated

goodwill of Plaintiffs’ respective brands.

                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

       51.     Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 50.

       52.     Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their Counterfeit Products as those of Plaintiffs, causing a likelihood of confusion

and/or misunderstanding as to the source of their goods, causing a likelihood of confusion and/or

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misunderstanding as to an affiliation, connection, or association with genuine Plaintiffs’

Products, representing that their products have Plaintiffs’ approval when they do not, and

engaging in other conduct which creates a likelihood of confusion or misunderstanding among

the public.

        53.      The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

        54.      Plaintiffs have no adequate remedy at law, and Defendants’ conduct has caused

Plaintiffs’ to suffer damage to their reputations and associated goodwill. Unless enjoined by the

Court, Plaintiffs will suffer future irreparable harm as a direct result of Defendants’ unlawful

activities.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

    confederates, and all persons acting for, with, by, through, under or in active concert with

    them be temporarily, preliminarily, and permanently enjoined and restrained from:

        a. using Plaintiffs’ Trademarks or any reproductions, counterfeit copies or colorable

              imitations thereof in any manner in connection with the distribution, marketing,

              advertising, offering for sale, or sale of any product that is not a genuine Plaintiffs’

              Product or is not authorized by Plaintiffs to be sold in connection with Plaintiffs’

              Trademarks;

        b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

              Plaintiffs’ Product or any other product produced by Plaintiffs, that is not Plaintiffs’




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           or not produced under the authorization, control, or supervision of Plaintiffs and

           approved by Plaintiffs for sale under Plaintiffs’ Trademarks;

       c. committing any acts calculated to cause consumers to believe that Defendants’

           Counterfeit Products are those sold under the authorization, control or supervision of

           Plaintiffs, or are sponsored by, approved by, or otherwise connected with Plaintiffs;

       d. further infringing Plaintiffs’ Trademarks and damaging Plaintiffs’ goodwill; and

       e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

           moving, storing, distributing, returning, or otherwise disposing of, in any manner,

           products or inventory not manufactured by or for Plaintiffs, nor authorized by

           Plaintiffs to be sold or offered for sale, and which bear any of Plaintiffs’ trademarks,

           including the Plaintiffs’ Trademarks, or any reproductions, counterfeit copies or

           colorable imitations thereof;

2) Entry of an Order that, at Plaintiffs’ choosing, the registrant of the Defendant Domain Names

   shall be changed from the current registrant to Plaintiffs, and that the domain name registries

   for the Defendant Domain Names, including, but not limited to, VeriSign, Inc., Neustar, Inc.,

   Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall unlock and

   change the registrar of record for the Defendant Domain Names to a registrar of Plaintiffs’

   selection, and that the domain name registrars, including, but not limited to, GoDaddy

   Operating     Company,       LLC        (“GoDaddy”),    Name.com,       PDR      LTD.     d/b/a

   PublicDomainRegistry.com (“PDR”), and Namecheap Inc. (“Namecheap”), shall take any

   steps necessary to transfer the Defendant Domain Names to a registrar account of Plaintiffs’

   selection; or that the same domain name registries shall disable the Defendant Domain

   Names and make them inactive and untransferable;



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3) Entry of an Order that, upon Plaintiffs’ request, those in privity with Defendants and those

   with notice of the injunction, including, without limitation, any online marketplace platforms

   such as iOffer, eBay, AliExpress, and Alibaba, web hosts, sponsored search engine or ad-

   word providers, credit cards, banks, merchant account providers, third party processors and

   other payment processing service providers, Internet search engines such as Google, Bing

   and Yahoo, and domain name registrars, including, but not limited to, GoDaddy, Name.com,

   PDR, and Namecheap, (collectively, the “Third Party Providers”) shall:

       a. disable and cease providing services being used by Defendants, currently or in the

           future, to engage in the sale of goods using Plaintiffs’ Trademarks;

       b. disable and cease displaying any advertisements used by or associated with

           Defendants in connection with the sale of counterfeit and infringing goods using

           Plaintiffs’ Trademarks; and

       c. take all steps necessary to prevent links to the Defendant Domain Names identified

           on Schedule A from displaying in search results, including, but not limited to,

           removing links to the Defendant Domain Names from any search index;

4) That Defendants account for and pay to Plaintiffs all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged, and that the amount of damages for

   infringement of Plaintiffs’ Trademarks be increased by a sum not exceeding three times the

   amount thereof as provided by 15 U.S.C. § 1117;

5) In the alternative, that Plaintiffs be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of

   Plaintiffs’ Trademarks ;

6) That Plaintiffs be awarded their reasonable attorneys’ fees and costs; and



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7) Award any and all other relief that this Court deems just and proper.



Dated this 27th day of March 2018.           Respectfully submitted,


                                             /s/ Justin R. Gaudio
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